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 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  )   1:06-cr-00202 AWI
                                                )
12                        Plaintiff,            )
                                                )
13                                              )   ORDER ON GOVERNMENT’S
                           v.                   )   MOTION TO DISMISS
14                                              )   (Fed. R. Crim. P. 48 (a))
     PASSION CONLEY,                            )
15                                              )
                          Defendant.            )
16                                              )
                                                )
17
                                               ORDER
18
            IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed as to
19
     Passion Conley without prejudice.
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21
     IT IS SO ORDERED.
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     Dated:    May 16, 2007                         /s/ Anthony W. Ishii
23   0m8i78                                   UNITED STATES DISTRICT JUDGE
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